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 VANDERSLICE DECL.
    EXHIBIT A1
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                                                     UNITED STATES DISTRICT COURT
                8
                                                    NORTHERN DISTRICT OF CALIFORNIA
                9

              10
                    MAXIMILIAN KLEIN, et al., on behalf of          Case No. 3:20-cv-08570-JD
              11    themselves and all others similarly situated,
                                                                    DECLARATION OF SAMANTHA
              12                      Plaintiffs,                   BIRKENFELD-MALPASS
                                                                    IN SUPPORT OF NON-PARTY X
              13             vs.                                    CORP.’S OBJECTION
                                                                    TO DISCLOSURE OF X CORP.’S
              14    META PLATFORMS, INC., a Delaware                CONFIDENTIAL INFORMATION
                    Corporation,
              15                 Defendant.

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                                        DECLARATION OF SAMANTHA BIRKENFELD-MALPASS
                                                    Case No. 3:20-cv-08570-JD
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                1      DECLARATION OF SAMANTHA BIRKENFELD-MALPASS IN SUPPORT OF NON-
                       PARTY X CORP.’S OBJECTION TO DISCLOSURE OF X CORP.’S CONFIDENTIAL
                2                                         INFORMATION
                    I, Samantha Birkenfeld-Malpass, declare as follows:
                3
                             1.       I am Senior Litigation Counsel II at non-party X Corp., and, by reason of my
                4
                    position, I am authorized and qualified to make this declaration.
                5
                             2.       I have personal knowledge of the facts set forth in this declaration and could testify
                6
                    competently as to the matters set forth in this declaration.
                7
                             3.       Based on my personal knowledge and on information provided to me by others at
                8
                    X Corp., I am generally familiar with (1) X Corp.’s record keeping practices and systems for the
                9
                    documents identified below, (2) the manner in which the X Corp. document identified below was
              10
                    created, stored, and maintained, and (3) the manner by which X Corp. made, kept, and used this
              11
                    documents.
              12
                             4.       I understand that the Advertiser Plaintiffs in the above-captioned litigation notified
              13
                    X Corp. on February 25, 2025, that they had filed an Opposition to Defendant Meta’s Motion for
              14
                    Summary Judgment and Motions to Exclude Advertiser Plaintiffs’ experts that cited information
              15
                    designated as Highly Confidential or Confidential by X Corp. under the Protective Order dated
              16
                    July 11, 2022, ECF No. 315.
              17
                             5.       Specifically, a portion of the Expert Report of Dr. Williams in Support of Plaintiff’s
              18
                    Opposition to Defendant Meta’s Motion for Summary Judgment refers to and cites to language
              19
                    from internal X. Corp. documents produced in this litigation with Bates numbers TWTR-
              20
                    KLEIN00048858; TWTR-KLEIN00026498; and TWTR-KLEIN00048858-862.
              21
                             6.       X Corp. believes that good cause and compelling reasons exist to keep sealed the
              22
                    following language:
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                                        DECLARATION OF SAMANTHA BIRKENFELD-MALPASS
                                                    Case No. 3:20-cv-08570-JD
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                1                           Filing                        Language in Filing to be Kept Under Seal
                2    Dkt. 892-3, Ex. 1                                   In paragraph 66, all language in the paragraph
                                                                         after “ad revenue growth was”.
                3    Dkt. 892-3, Ex. 1                                   In paragraph 270, all language in the
                                                                         paragraph after “noted that”.
                4
                     Dkt. 892-3, Ex. 1                                   The entirety of Figure 24 on page 109.
                5    Dkt. 892-3, Ex. 1                                   All text after “An internal Twitter report” in
                                                                         the box under the column header “Evidence
                6                                                        that all Facebook ads are Social Ads” on page
                                                                         204 to the left of the following document
                7                                                        name: TWTR-KLEIN00048858-862.

                8
                             7.       The language identified in TWTR-KLEIN00048858; TWTR-KLEIN00026498;
                9
                    TWTR-KLEIN00048858-862 is highly sensitive because it contains X Corp’s internal analysis
              10
                    and evaluation of market share and product growth.
              11
                             8.       X Corp. takes very seriously the need to keep this information confidential. X Corp.
              12
                    believes that the disclosure of this information would be competitively damaging to X Corp.
              13
                    because, among other reasons, it would give confidential information about X Corp. and its market
              14
                    and product feature analysis to X Corp.’s competitors. Public use of this information would
              15
                    provide X Corp.’s competitors with an advantage in competing with X Corp. for future business
              16
                    opportunities, harming competition.
              17
                             I declare, under penalty of perjury, that the foregoing is true and correct.
              18
                    Dated: March 10, 2025
              19

              20
                                                                 By:
              21
                                                                       Samantha Birkenfeld-Malpass
              22                                                       Senior Litigation Counsel II,
                                                                       X Corp.
              23

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                                        DECLARATION OF SAMANTHA BIRKENFELD-MALPASS
                                                    Case No. 3:20-cv-08570-JD
